                           IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                                       DURHAM DIVISION
                                 Civil Action No. 1:20-cv-00438 v


    TIMOTHY KAPP,                                        )
                                                         )
                 Plaintiff,                              )
                                                         )
                v.                                       )
                                                         )         COMPLAINT FOR INJUNCTIVE
    HARRIS TEETER, LLC and HARRIS                        )         RELIEF, DECLARATORY, AND
    TEETER SUPERMARKETS, INC.                            )          OTHER EQUITABLE RELIEF
                                                         )           (JURY TRIAL DEMANDED)
                Defendants.                              )
                                                         )


         COMES NOW Plaintiff Timothy Kapp, by and through his undersigned counsel hereby

files this Complaint and sues Defendants Harris Teeter, LLC and Harris Teeter Supermarkets,

Inc. (collectively, “Harris Teeter” or “Defendants”) for injunctive relief, attorney’s fees and costs

(including, but not limited to, court costs and expert fees) pursuant to Title III of the Americans

with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12181-12189 (“ADA”), 28 C.F.R. Part

36 and alleges as follows:

                                OVERVIEW OF PLAINTIFF’S CLAIMS

     1. Plaintiff is a blind and visually-impaired person1 who requires screen-reading software to

         use and comprehend websites, and he brings this civil rights action against Harris Teeter,

         a grocery store, for its failure to design, construct, maintain, and operate its website,

         harristeeter.com, related pages, and the online shopping feature called “Harris Teeter




1
  Plaintiff uses the terms “blind” or “visually-impaired” to refer to all people with visual impairments who meet the
legal definition of blindness in that they have a visual acuity with correction of less than or equal to 20 x 200. Some
blind people who meet this definition have limited vision. Others have no vision.

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        Express Lane” (collectively the “website” or “Defendants’ website”) to be accessible to

        and independently usable by Plaintiff and other blind or visually-impaired people.

    2. For several years now, the U.S. Department of Justice, the agency with authority to

        enforce the ADA and promulgate regulations under Title III, has consistently maintained

        the position that there is a compelling national interest in ensuring that websites comply

        with the broad mandate of the ADA in order to ensure that disabled persons are not

        denied the “opportunity to participate and benefit from the goods, services, privileges or

        advantages afforded to other individuals.” See STATEMENT OF INTEREST OF THE UNITED

        STATES OF AMERICA, filed in Gil v. Winn-Dixie Stores, Inc. (No. 16-CV-23020-RNS)

        (S.D. Fla 2016).

    3. More recently, on September 25, 2018, in a letter to U.S. House of Representative Ted

        Budd, U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed

        that public accommodations must make the websites they own, operate, or control

        equally accessible to individuals with disabilities. Assistant Attorney General Boyd’s

        letter provides:

                 The Department [of Justice] first articulated its interpretation that the ADA
                 applies to public accommodations’ websites over 20 years ago. This
                 interpretation is consistent with the ADA’s Title III requirement that the
                 goods, services, privileges, or activities provided by places of public
                 accommodation be equally accessible to people with disabilities.2

    4. In addition to the DOJ’s position identified above, as of the filing of this complaint,

        several places of public accommodation have been subjected to liability under Title III of

        the ADA for maintaining a website with webpages and hosted content that is inaccessible

        to persons with visual disabilities such as Plaintiff. One of these defendants includes a


2
 See Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of Justice, to Congressman Ted
Budd, U.S. House of Representatives (Sept. 25, 2018).

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        grocery store chain named Winn Dixie that operates in the southeastern United States.

        Defendants have thus received fair notice that its website and related applications must

        comply with the ADA.3

    5. Harris Teeter is a grocery store that operates several physical locations throughout the

        Southeastern United States that are places of public accommodation under the ADA.

        U.S.C. § 12181.

    6. One or both of the Defendants operate a website harristeeter.com, and one or both of the

        Defendants are also responsible for the policies, practices, and procedures concerning the

        website’s development, its maintenance, and the content which is hosted on it.

    7. The claims asserted in this complaint arise out of the inaccessible nature of Defendants’

        website, which denies Plaintiff the full and equal opportunity to enjoy the services

        Defendants provide to the general public and its sighted customers.

    8. Because Defendants’ website is not fully and equally accessible to blind and visually-

        impaired consumers in violation of the ADA, Plaintiff seeks a permanent injunction to

        cause a change in Defendants’ policies and practices so that the Defendants’ website will

        become accessible to blind persons like Plaintiff.

                                      JURISDICTION AND VENUE

    8. This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 and

        42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42 U.S.C. § 12181,



3
  See Robles v. Dominos Pizza, LLC 913 F.3d 898 (9th. Cir. 2019) (“As a preliminary matter, we hold that
Domino’s has received fair notice that its website and app must comply with the ADA.”) cert. denied, 589 U.S. _
(Oct. 7, 2019)(No. 18-1539); see also Gil v. Winn-Dixie Stores, Inc, 257 F.Supp. 3d 1340 (S.D. Fl. 2017) (“The
factual findings demonstrate that Winn-Dixie’s website is inaccessible to visually impaired individuals who must
use screen reader software. Therefore, Winn-Dixie has violated the ADA because the inaccessibility of its website
has denied Gil the full and equal enjoyment of the goods, services, facilities, privileges, advantages, or
accommodations that Winn-Dixie offers to its sighted customers.”).



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   et seq., and 28 U.S.C. § 1332.

9. This Court has personal jurisdiction over Defendants because it is deemed a resident of the

   State of North Carolina and it conducts and continues to conduct a substantial and

   significant amount of business in the State of North Carolina.

10. Venue is proper in the Middle District of North Carolina pursuant to 28 U.S.C. §1391(b)(1)

   because Defendants reside in this District and this Court has personal jurisdiction over

   Defendants.

                                          PARTIES

11. Plaintiff Timothy Kapp is a resident of the state of North Carolina. He is also a blind,

   visually-impaired, person and a member of a protected class of individuals under the ADA.

   Specifically, Plaintiff is substantially limited in performing one or more major life activities;

   including but not limited to visual perception, walking around stores, and choosing items for

   purchase.

12. Defendants are North Carolina domiciled corporations that operate a grocery store business

   with over 230 stores. Defendants also maintain a website with a URL of harristeeter.com

   whose inaccessible design is the subject of this suit.

13. Plaintiff has been denied the full use and enjoyment of the services offered and provided on

   Defendants’ website, and the web accessibility barriers Plaintiff has encountered now deter

   and obstruct Plaintiff from independently meeting essential shopping needs through

   harristeeter.com.

                                           FACTS

14. The Internet has become a significant source of information, and essential tool for

   completing everyday activities such as shopping, learning, and banking, both for sighted and



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   visually-impaired persons alike.

15. When websites are accessible, the Internet provides individuals with disabilities great

   independence.

16. Blind persons are able to access and consume the content of websites by using their

   keyboards in conjunction with screen access software that vocalizes the textual and visual

   information sighted users see on a computer screen. This technology is known as screen-

   reading software. Except for legally blind individuals whose residual vision allows them to

   use magnification, screen-reading software is currently the only method a blind person may

   employ to fully and independently access the internet.

17. Blind and visually-impaired users of computers and devices have several screen-reading

   software programs available to them. Some of these programs are available for purchase and

   other programs are available without the user having to purchase the program separately.

18. An accessible website should be designed and coded in such a way that a screen reader is

   able to successfully convert the visual interface (i.e. the text, images, buttons, and links on a

   webpage) into understandable synthesized speech.

19. For screen-reading software to function, the information on a website must be capable of

   being rendered into meaningful text. For this to occur, the website’s designer must adhere to

   widely known and achievable programing and design rules. When these standards are not

   followed, website content will not be capable of being rendered into meaningful text.

   Consequently, the visually-impaired user is unable to access the same content available to

   sighted users.

20. Screen-reading software is currently the primary method a blind person uses to

   independently access the internet, websites and other content hosted online.



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Defendants are subject to Title III of the ADA because they operate a place of public
accommodation and its website is essential to the range of goods and services Defendants offer
to the general public.

    21. The ADA specifically provides, “No individual shall be discriminated against on the basis

         of disability in the full and equal enjoyment of the goods, services, facilities, privileges,

         advantages, or accommodations of any place of public accommodation by any person who

         owns, leases (or leases to) or operates a place of public accommodation.” 42 U.S.C.

         §12182(a); 28 C.F.R. §36.201(a). The ADA further requires that a public accommodation

         provide accessible electronic and information technology as auxiliary aids and services. See

         28 C.F.R. §36.303(a), (b) and (c)(ii).

    22. Commercial websites that are not accessible for blind individuals using screen-readers and

         keyboards violate this basic mandate.4

    23. Defendants are subject to the requirements of Title III of the ADA and its regulations

         because Harris Teeter is a “place of public accommodation” under 42 U.S.C. § 12181.

         Specifically, Defendants’ establishments are grocery stores that affect “commerce” and they

         fall within the scope of 42 U.S.C. § 12181(E) (“a bakery, grocery store, clothing store,

         hardware store, shopping center, or other sales or rental establishment”).

    24. Defendants’ website is instrumental in facilitating customer access to the goods, services,

         and benefits offered at Defendants’ physical locations. Specifically, a key feature of



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  See National Federation of the Blind v. Target Corp., 452 F. Supp. 2d 946 (N.D. Cal. 2006). The Department of
Justice (the “DOJ”) has consistently stated its view that the ADA’s accessibility requirements apply to websites
belonging to private companies. See, e.g., Applicability of the Americans with Disabilities Act (ADA) to Private
Internet Sites: Hearing before the House Subcommittee on the Constitution of the House Committee on the
Judiciary, 106th Cong., 2d Sess. 65-010 (2000) (“It is the opinion of the Department of Justice currently that the
accessibility requirements of the Americans with Disabilities Act already apply to private Internet Web sites and
services.”); 75 Fed. Reg. 43460-01 (July 6, 2010) (“The Department believes that Title III reaches the Web sites of
entities that provide goods or services that fall within the 12 categories of ‘public accommodations,’ as defined by
the statute and regulations.”). Thus, Defendants are on notice that the ADA’s general mandate applies to website
design and accessibility.

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   Defendants’ website is called “Harris Teeter Express Lane” and this feature allows

   customers to shop for food online, purchase items, and make arrangements to pick those

   items up at a certain store location or have them delivered to their homes in certain

   instances.

25. Online grocery shopping applications, such as Harris Teeter Express Lane, have become a

   common and critical means for the general public to get essential goods and services

   typically only found at grocery stores.

26. With the movement toward online shopping, there are now two ways that the public shops

   for groceries: (1) in-person or (2) online.

27. The advent of online grocery shopping has already made the day-to-day lives of many

   members of the general public more convenient.

28. And, due to the spread of COVID-19, a shift by consumers toward more online grocery

   shopping has potential public health benefits as well.

29. The public health benefits achieved by the nationwide “stay-at-home” orders put in place by

   state and local governments in the early spring of 2020 only further show the need for a food

   distribution system that meets consumer demand through a combination of in-person and

   online grocery shopping.

30. Harris Teeter’s website specifically encourages customers to pay online “to expedite your

   shopping experience” and “practice social distancing.”

31. To further encourage and promote online shopping, Harris Teeter’s website also offers

   exclusive online-only deals to customers so they can “save big.” However, only those

   customers who are able to subscribe to and use the “Express Lane” service can get these




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        bargain prices.5

    32. Thus, in addition to making life more convenient, in some circumstances, shopping online at

        harristeeter.com has the potential to create real savings for those consumers who can

        navigate and use the website.

    33. Online grocery shopping has the potential to make the day-to-day lives of persons with

        visual impairments more convenient as well, and in light of the current COVID-19 situation,

        potentially safer from a public health perspective.

    34. In light of the foregoing, Defendants’ website operates as an essential gateway and an

        extension of Defendants’ physical locations for the general public, and there is a direct

        nexus between the website harristeeter.com and the operation of Defendants’ brick-and-

        mortar grocery store locations.

    35. The Defendants’ website is thus subject to regulation under Title III of the ADA because the

        statute applies to the services of a place of public accommodation, and the implementing

        DOJ regulations require that a public accommodation “furnish appropriate auxiliary aids and

        services where necessary to ensure effective communication with individuals with

        disabilities.” 28 C.F.R. § 36.303(c)(1) (emphasis added).

There are inaccessible features and content on Defendants’ website that impede access to the
goods and services offered by Defendants for blind and low vision customers, including
Plaintiff.

    21. Plaintiff has consumed groceries which came from a Harris Teeter and would like the option

        to place grocery orders online and shop for items and deals that are only available at Harris

        Teeter.



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 For example, as of May 15, 2020, Express Lane shoppers with a VIC card were able to purchase a container of
Dean’s French Onion dip for $1.27, a product which ordinarily retails for around $2.75. This deal is only one of
many which Defendants make available exclusively to customers making online shopping transactions.

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22. Harris Teeter offers certain high-quality products, including its store brands, that are only

    available for purchase at a Harris Teeter.

23. Plaintiff is attracted to Harris Teeter because of the diversity and quality of its product

    selection.

24. Harris Teeter often has prices for certain items that are below the prices offered by their

    competitors.

25. Harris Teeter’s “buy-one-get-one-free” specials are not only a primary means of rewarding

    “VIC” and “E-VIC” customers with deep discounts on certain items, they are a key feature

    of the company’s marketing to the general public.

26. Plaintiff is attracted to Harris Teeter because of these deals.

27. However, many of the items, deals, and potential benefits Defendants offer to their

    customers via harristeeter.com are not fully accessible to persons with visual impairments

    such as Plaintiff who rely on assistive technology to navigate the web.

28. Specifically, to comprehend the information that is visually displayed on websites, Plaintiff

    uses “screen reader” software (e.g. JAWS) which translates the raw information of a

    webpage into synthesized speech.

29. Plaintiff is a potential customer of Defendants’ online shopping system who has attempted

    to utilize Defendants’ website using his laptop computer and a screen reader software

    program, but was ultimately frustrated.

30. Defendants have failed to make certain threshold information readable and navigable by a

    screen reader, thus denying Plaintiff and other persons who rely on a screen-reader with a

    meaningful, useable, equivalent level of web access that Defendants provide to members of

    the general, sighted public.



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31. In effect, the barriers to accessibility posed to a blind person by Defendants’ online shopping

   system are akin to the existence of physical barriers that would prevent or otherwise strongly

   discourage a disabled person from coming into a grocery store location and moving around

   inside.

32. Plaintiff continues to desire to utilize Defendants’ website for informing his purchasing

   decisions and meeting grocery needs, but he is unable to independently do so since some

   features of the inadequately designed website are effectively unnavigable to him due to his

   disability.

33. On information and belief, Defendants or their agents charged with designing and managing

   harristeeter.com did not adequately test the features of the harristeeter.com website with

   screen reader software before launching it to the general public.

34. On information and belief, Defendants have not adopted and/or have neglected to follow an

   appropriate Web Accessibility Policy to help ensure that individuals with disabilities enjoy

   full and equal access to the goods and services provided by the website.

35. On information and belief, the Defendants have not instituted a Web Accessibility

   Committee whose objective is to help ensure full and equal use of its website by individuals

   with disabilities.

36. On information and belief, the Defendants have not designated an employee or third-party

   consultant to act as a Web Accessibility Coordinator to help ensure that individuals with

   disabilities have full and equal use of its website.

37. On information and belief, the Defendants have not instituted a Web Accessibility User

   Accessibility Testing Group to ensure full and equal use of its website by individuals with

   disabilities.



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38. Defendants’ website does not fully meet the Web Content Accessibility Guidelines

    (“WCAG”) 2.0 basic level of web accessibility.

39. Thus, Plaintiff will continue to suffer irreparable injury from the Defendants’ acts, policies,

    and practices set forth herein unless enjoined by this Court.

   COUNT I – VIOLATION OF THE AMERICANS WITH DISABILITIES ACT

40. The foregoing paragraphs are realleged and incorporated by reference.

41. As a result of the barriers to access the harristeeter.com website imposes upon Plaintiff and

    others similarly situated (when the removal of those barriers is readily achievable), the

    Defendants have denied individuals with disabilities who are visually impaired full and

    equal enjoyment of the information and services that are made available to the general

    public on the website at harristeeter.com. This is a violation of Title III of the ADA (42

    U.S.C. §12101 et. seq., 42 U.S.C. §12182 et. seq.).

42. Under Section 302(b)(1) of Title III of the ADA, it is unlawful discrimination to deny

    individuals with disabilities the opportunity to participate in or benefit from the goods,

    services, facilities, privileges, advantages, or accommodations of an entity. (42 U.S.C. §

    12182(b)(1)(A)(i)).

43. Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination also includes,

    among other things:

        a. “[A] failure to make reasonable modifications in policies, practices, or procedures,
           when such modifications are necessary to afford such goods, services, facilities,
           privileges, advantages, or accommodations to individuals with disabilities, unless the
           entity can demonstrate that making such modifications would fundamentally alter
           the nature of such goods, services, facilities, privileges, advantages or
           accommodations; and a failure to take such steps as may be necessary to ensure that
           no individual with a disability is excluded, denied services, segregated or otherwise
           treated differently than other individuals because of the absence of auxiliary aids and
           services, unless the entity can demonstrate that taking such steps would
           fundamentally alter the nature of the good, service, facility, privilege, advantage, or


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           accommodation being offered or would result in an undue burden.” (42 U.S.C. §
           12182(b)(2)(A)(ii)-(iii).)

44. Defendants’ website is subject to regulation under Title III of the ADA because it has a

   “nexus” with Defendants’ physical locations, which are places of public accommodation

   under 42 U.S.C. §12181.

45. Alternatively, pursuant to 42 U.S.C. §12181(7)(E), harristeeter.com is itself a place of public

   accommodation under the ADA because it permits, facilitates, and improves access for

   members of general public to the goods and services Defendants provide. As such, like

   Defendants’ physical stores/locations, the design and functionality of the harristeeter.com

   website must also comply with the broad accessibility mandate of the ADA.

46. However, the Defendants’ website is not in compliance with the ADA.

47. Specifically, the Defendants’ website is riddled with several accessibility barriers and

   blunders, including, but not limited to, the following.

       a. Certain information, including links, are not readable by a screen reader and are

           therefore not “perceivable” by Plaintiff.

       b. Certain links do not respond to keyboard activation, are not keyboard accessible, and

           are therefore, not “operable” by Plaintiff.

       c. The purposes of certain buttons and links are not explained to the blind user with

           readable text and this creates a significant likelihood that he or she will activate them

           and cause the website to abruptly change context, directing the user away from the

           content they were originally seeking.

       d. Where the website does provide a means of accessibility which could accommodate

           the unique needs of blind person in some situations, the blind user is not alerted that

           they have an option for an alternative means of input.


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       e. For certain features of the website, such as a form text entry box with underlying

           validation criteria, when an error message is generated automatically by the website,

           no information which explains the source of that error is provided via readable text.

           Essentially, the website’s failure to provide an error message that is readable by a

           screen reader program that explains to the blind user the steps they need to take to

           fix the error, creates a “trap” and ultimately prevents the user from accessing the

           feature of the website they wanted to use in the first place.

       f. Where content is repeated on multiple webpages, the blind user is not provided with

           a means to by-pass the repetitive content and this adds significant, unnecessary time

           to the navigation of the website.

       g. Certain information in the online shopping application is not presented in a

           meaningful sequence and a blind person is therefore at a higher risk of inadvertently

           making a selection that could result in a change of items which are actually provided

           or delivered.

       h. Plaintiff and others similarly situated are not presented with information related to

           the prices of certain goods that is made available to sighted users.

48. Due to, but not limited to, the above, initiating and successfully using Harris Teeter’s online

   shopping system via a screen reader and a keyboard can be virtually impossible for a blind

   person. Even if a blind person successfully initiates the online shopping process, several

   barriers would then follow that would make selecting and purchasing items frustratingly

   difficult.

49. Regardless of whether a visually impaired would choose to use the Express Lane shopping

   application, Defendants also publish certain information with the intent to inform and



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    influence the purchasing decisions of members of sighted public that is not at all presented

    to Plaintiff via his screen reader software.

50. The law requires that Defendants reasonably accommodate Plaintiff’s disabilities by

    removing these and other access barriers. Removal of the barriers is readily achievable and

    may be carried out without much difficulty or expense.

51. The Defendants have therefore violated Title III of the ADA (and continue to do so) by

    leaving in place an inadequate website design which burdens and impedes Plaintiff and

    other blind individuals who rely upon screen reader software from accessing the goods,

    services, and other privileges offered to the general public at harristeeter.com and its related

    web pages.

52. Plaintiff is a member of a protected class of persons under the ADA because he is blind, and

    he has been, and will be in the absence of an injunction, injured by Defendants’ failure to

    provide its online content and services in a manner compatible with prevailing screen reader

    programs.

53. Plaintiff is therefore entitled to injunctive relief pursuant to 42 U.S.C. §12133 as a remedy to

    Defendants’ conduct, including an order that:

        a. requires Defendants to adopt and implement a web accessibility policy to help

            ensure that persons with disabilities have full and equal enjoyment of the services,

            facilities, privileges, advantages, and accommodations made available through its

            website; and

        b. requires Defendants to adopt internal policies and implement web design and

            programming modifications that are targeted at making its website equally

            accessible to persons with disabilities, including persons with visual impairments.



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   54. Plaintiff has been obligated to retain the undersigned counsel for the filing and prosecution

       of this action and he is entitled to have reasonable attorneys’ fees, costs and expenses paid

       by Defendants.

   55. Pursuant to 42 U.S.C. § 12188 and the remedies, procedures, and rights set forth and

       incorporated therein, Plaintiff requests relief as set forth below.

   WHEREFORE, Plaintiff hereby requests the following relief:

   a. A jury trial;

   b. A Declaratory Judgment that, at the commencement of this action, Defendants were in

       violation of the specific requirements of Title III of the ADA 42 U.S.C. § 12181 et seq., and

       the relevant implementing regulations of the ADA, for Defendants’ failure to take action

       that was reasonably calculated to ensure that its website is fully and equally accessible to,

       and independently usable by, blind and visually-impaired individuals;

   c. A preliminary and permanent injunction enjoining Defendants from further violations of the

       ADA, 42 U.S.C. § 12181 et seq., with respect to its website, harristeeter.com;

   d. For attorneys’ fees and expenses pursuant to all applicable laws including, without

       limitation, pursuant to 42 U.S.C. § 12188(a)(1);

   e. For prejudgment interest to the extent permitted by law;

   f. For costs of suit; and

   g. For such other and further relief as this Court deems just and proper.


This the ____th day of May 2020.

                                                MAGINNIS LAW, PLLC
                                                Counsel for Plaintiff

                                                BY: /s/ Garrett L. Davis_________
                                                EDWARD H. MAGINNIS


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